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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


                                                                      Chapter 11
    In re
                                                                      Case No. 22-11068-JTD
    FTX TRADING LTD., et al.,
                                                                      Jointly Administered
                                Debtors.1
                                                                      Re: 1137


                     THE AD HOC COMMITTEE OF NON-US CUSTOMERS
                   OF FTX.COM’S WITNESS LIST FOR JUNE 8, 2023 HEARING

            At the June 8, 2023 hearing (the “Hearing”) in connection with the Ad Hoc Committee of

Non-US Customers of FTX.com’s Motion to File Under Seal (I) the Verified Statement of

Eversheds Sutherland (US) LLP and Morris, Nichols, Arsht & Tunnell LLP Pursuant to

Bankruptcy Rule 2019 and (II) the Declaration in Support of the Ad Hoc Committee of Non-US

Customers of FTX.com’s Motion to File Under Seal the Verified Statement of Eversheds

Sutherland (US) LLP and Morris, Nichols, Arsht & Tunnell LLP Pursuant to Bankruptcy Rule

2019 [D.I. 1137], the Ad Hoc Committee of Non-US Customers of FTX.com (the “Ad Hoc

Committee”) reserves the right to elicit testimony from any witness called by any party, whether

through direct examination, cross examination, or otherwise, and further reserves the right to call

any rebuttal or impeachment witness. The Ad Hoc Committee reserves the right to amend or

supplement this witness list at any time prior to the Hearing.




1
            The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
            and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases (collectively,
            the “Debtors”), a complete list of the Debtors and the last four digits of their federal tax identification numbers
            is not provided herein. A complete list of such information may be obtained on the website of the Debtors’
            claims and noticing agent at https://cases.ra.kroll.com/FTX.
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